

Matter of Cook (2024 NY Slip Op 03668)





Matter of Cook


2024 NY Slip Op 03668


Decided on July 3, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 3, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CURRAN, J.P., BANNISTER, MONTOUR, GREENWOOD, AND HANNAH, JJ. (Filed May 14, 2024).


&amp;em;

[*1]MATTER OF ROBERT STANSFIELD COOK JR., AN ATTORNEY, RESIGNOR.



MEMORANDUM AND ORDERApplication to resign for non-disciplinary reasons accepted and name removed from roll of attorneys.








